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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


UNITED STATES OF AMERICA,             :         NO. 1:08-CR-00039
                                      :
                                      :
     v.                               :         FINDINGS OF FACT,
                                      :         CONCLUSIONS OF LAW
                                      :
DERRICK L. BEVERLY (1), and           :
DARRYL KINDER (2).                    :
                                      :


               This matter is before the Court for decision following

the August 7, 2008 evidentiary hearing.                In rendering its decision

on this matter, the Court has considered the testimony of the

witnesses, the documents admitted into evidence and the parties’

respective      Proposed   Findings       of    Fact   and   Conclusions   of    Law

Regarding the Weight of the Cocaine Base (docs. 63, 64, 65). For

the reasons indicated herein, the Court FINDS that the government

has failed to establish beyond a reasonable doubt that the weight

of the cocaine base in this matter exceeded 50 grams, and therefore

CONCLUDES under 21 U.S.C. § 841(b) that the applicable minimum

mandatory sentence for the co-Defendants Derrick Beverly and Darryl

Kinder is five years.

               On May 20, 2008, Defendant Beverly entered into a plea of

guilty    to    Count   Three   of   the       Indictment,   charging   him     with

Conspiracy to Commit a Drug Trafficking Offense, with intent to

distribute in excess of 50 grams of cocaine base (docs. 25, 25).

On June 24, 2008, Defendant Kinder entered a plea of guilty to
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Count One of the Indictment, charging him with Possession with the

Intent to Distribute in excess of 50 grams of Cocaine Base, as well

as a plea of guilty to Possession of Firearms in Furtherance of a

Drug Trafficking Crime (docs. 49, 51).              Kinder reserved the right

to    have   the    Court   determine     the   weight    of   the   cocaine    for

sentencing purposes, and the Court granted his request for an

evidentiary hearing on the question (doc. 53).                 Beverly joined in

the motion, and the Court held a hearing at which all parties were

present (doc. 62).

              The   government’s      principal    witness,     Jennifer     Watson

(“Watson”), a forensic chemist, testified as to the methodology she

used in weighing the cocaine base and arriving at a weight of 50.57

grams.        Defendants’      expert    witness,     William     Connick,     PhD,

(“Connick”) testified that he weighed the sample on May 22, 2008

and arrived at a weight of 33 grams.             In weighing the testimony of

the witnesses, the Court evaluated the credibility of each witness,

their interest in the outcome of the hearing, their manner of

testifying, and the extent to which such testimony was supported or

contradicted by other credible evidence. Under Fed. R. Civ. P. 52,

the Court has set forth its findings of fact and conclusions of

law, below.

I.    Findings of Fact

1.    The material that was later tested and determined to be crack

cocaine was seized by the Clinton County Ohio Deputy Sheriffs at


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Defendants’ residence at 872 N. Webb Road, Wilmington, Ohio, on

November 1, 2007.        The Sheriffs did not complete a field weighing

of the crack cocaine.

2.    The drug material, including small plastic pieces or wrappers,

was contained in two plastic bags.                The Sheriffs deposited the

material in a sealed plastic bag and further sealed it in a manila

envelope with red tape on both ends of the envelope.                  It remained

in such packaging when it arrived at the Miami Valley Regional

Crime Lab, where the forensic chemist Jennifer Watson weighed the

material on November 16, 2007.

3.    Watson weighed each of the two plastic bags of cocaine once.

4.    Watson’s report is as follows:

              “One plastic bag containing an off-white chunky
              substance.   The above item was analyzed and found to
              contain Crack Cocaine (Sch II), having a net weight of
              44.99 grams.

              One plastic bag containing three pieces of plastic each
              containing an off-white chunky substance

              The above item was analyzed and found to contain Crack
              Cocaine (Sch. II) having a net weight of 5.58 grams.”

5.    The lab notes state,

              “1 man env. c. an off-white chunky substance have a
              weight of 44.99 g” and 1 pl. bag c 3 pcs of plastic each
              c an off-white chunky substance having a net wt of 5.58
              g.”

6.     Watson testified that she weighed the contents of the bags

once, and then she weighed a sample to determine if the State of

Ohio drug minimums were met.             The sample for the first bag (the


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whole of which weighed 44.99 grams), weighed 37.40 grams, and the

sample for the second bag was 5.06 grams.

7. Watson did not state that she remembered weighing the material,

but rather stated based on her notes “she would have” weighed the

mixture separately from the plastic bags.

8.    While Watson testified that she would have weighed the crack

cocaine separately from the plastic bags, her report and lab notes

can be read to indicate she weighed the crack cocaine in the bags,

or at least without separating the additional plastic material.

9.       Connick     testified     that    when   he    weighed     the   material

approximately six months after Watson, he weighed it three times

with two balances.           Connick testified that in his weighing he

initially tried to weigh the crack separately but “when it became

apparent that separation of solid from the various plastic bags

would be a tedious process” he decided to weigh the contents and

the bags together.          Connick arrived at a total weight for the

plastic bags, the small bags of plastic in the plastic bags, and

the crack, of 33.911 grams.

10.     Watson testified that the difference in weight between her

weighing and that by Connick could be attributed to evaporation of

water, a component of crack cocaine, along with baking soda and

cocaine.        Watson   described     the    plastic   bags   as   porous.         In

contrast, Connick described the plastic bags and manila envelope as

air tight to the degree that he found it “surprising” that the


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crack cocaine could have lost one third of its weight between the

two weighings.

11.    Both experts testified that crack cocaine has the ability to

lose weight or gain weight through evaporation and absorption.

Both experts stated there are a number of conditions that can

affect the evaporation or absorption rate, and they include the

relative humidity of the area where the crack is stored, the

container and the sealing of the crack, and the surface area of the

crack cubes.

12.    Watson acknowledged that her level of certainty was five on a

scale of ten that the material she weighed sixteen days after the

seizure could have gained weight.

13.     At the least, it may be concluded that the weight of the

material at the time of seizure is subject to conjecture and

dependent on variables of unknown values.

II.    Conclusions of Law

1.    Where as here, Defendants will be sentenced under the higher

tiers of the statutory scheme, that is 21 U.S.C. § 841(b)(1)(A),

the government must prove beyond a reasonable doubt the quantity of

drugs involved.        United States v. Copeland, 321 F.3d 582, 602 (6th

Cir. 2003).

2.    The government has not carried its burden that the amount of

the cocaine base was more than 50 grams at the time it was seized

under the reasonable doubt standard.               The Court finds reasonable


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doubt based on a number of factors in this case:               the lack of field

weighing at the time of seizure, the possibility of weight gain

through absorption before Watson’s weighing of the material, a lack

of certainty based on Watson’s notes as to whether she removed all

of    the   plastic    interspersed      in   the   material,    and   the    great

disparity between the weight she arrived at, and the weight Connick

arrived at.

3.     The Court can only find beyond a reasonable doubt that the

weight of the contraband for purposes of sentencing is based on the

weighing by Connick, who determined the cocaine, independent of

plastic packaging, weighed 32.81 grams.

4.    Because less than 50 grams of cocaine base is attributable to

each Defendant, the Court concludes under 21 U.S.C. § 841(b) that

the applicable minimum mandatory sentence for the co-Defendants

Derrick Beverly and Darryl Kinder is five years.

              Having reviewed this matter, the Court FINDS that the

government has failed to establish beyond a reasonable doubt that

the weight of the cocaine base in this matter exceeded 50 grams.

These matters shall proceed to sentencing accordingly, on October

22, 2008.



              SO ORDERED.

Dated: September 9. 2009               /s/ S. Arthur Spiegel
                                       S. Arthur Spiegel
                                       United States Senior District Judge


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